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                        UN ITED STATES DISTRICT COU RT FO R THE
                             SO U THERN DISTRICT OF FLO RID A
                                        M iam iD ivision
                          C ase N um ber:13-20295-C R-M AR TIN EZ

  UNITED STATES OF AM ERICA ,
       Plaintiff,
  VS.

  JO RG E ZA CAR IA S HERNA N D EZ EPIEYU ,
         Defendant.


                          O R DER A FFIR M IN G AN D AD O PTIN G
                M A G ISTR ATE JU D G E G O O D M A N 'S D ISCO VER Y O R D ER

         THIS CAUSE camebeforethe Courtupon Defendant'sPetition forReview of/Appeal

  (k$Appeal'') from MagistrateJudgeGoodman'sOrderDenyingDefendantJorgeZacarias
  HernandezEpieyu'sDiscoveryM otions(ECF No.1331.TheCourthascarefullyconsideredthe
  Appealand hasconducted adenovo review oftherecord,including M agistrateJudgc

  Goodman'sOrderDenyingDefendantEpieyu'sDiscoveryM otions(ECFNo.1301.Pursuantto
  28U.S.C.j636(b)(1),theCourtmayreconsideranypretrialmatterdeterminedbytheMagistrate
  Judge,whereithasbeen shownthatthe M agistrate Judge'sorderisticlearly erroneousor
  contrary to law v'' TheCourtfindsthatM agistrateJudgeGoodm an'sfactualfindingsare

  supported and his legalconclusions are correct. A ccordingly,aftercarefulconsideration,itis:
         O R D ERED A N D A DJU D G ED thatM agistrate Judge G oodm an's Order Denying

  DefendantEpieyu'sDiscoveryMotions(ECF No.1301isAFFIRM ED andADOPTED.
  Defendant'sAppealfrom M agistrate Judge Goodm an'sOrderDenying DefendantEpieyu's

  DiscoveryM otions(ECFNo.133)isDENIED.
         DONEAND ORDERED inChambersatMiami,Florida,thist! dayofJanuary,2016.


                                                    JO SE . A T EZ
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  Copiesprovided to:
  A l1CounselofRecord
  M agistrate Judge G oodm an
